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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    WIRELESS SWITCH IP, LLC.,                           Case No. 17-cv-03626-JD
                                   8                   Plaintiff,
                                                                                            ORDER CONDITIONALLY
                                   9            v.                                          DISMISSING CASE
                                  10    LENOVO (UNITED STATES) INC., et al.,
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The Court is advised that the parties have settled. . Re: Dkt. No. 60. Consequently, the

                                  14   Court vacates all pretrial deadlines and dismisses this case without prejudice. If any party certifies

                                  15   to the Court within 90 days from the date of this order that the agreed consideration for the

                                  16   settlement of this action has not been delivered, this order will be vacated and the case will be set

                                  17   for a case management conference. If no certification is filed, the dismissal will be deemed to be

                                  18   with prejudice after 90 days.

                                  19           The parties are directed not to ask the Court for a “dismissal with prejudice” at any

                                  20   time after this order, or to ask for an order confirming dismissal under FRCP 41(a)(1). No

                                  21   Court order is necessary for dismissal under that rule.

                                  22          IT IS SO ORDERED.

                                  23   Dated: October 5, 2017

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                                                                                                     JAMES DONATO
                                  26                                                                 United States District Judge
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